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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                      )
 IN RE:                               )     CASE NO. 24-14482-PDR
 ROI NEEMAN                           )     CHAPTER 7
                        DEBTOR        )
                                      )

                                \t2\
   NOTICE OF APPEARANCE PURSUANT TO BANKRUPTCY RULE 9010 (b) AND
    REQUEST FOR NOTICES UNDER BANKRUPTCY RULE 2002 REGARDING
  PROPERTY DESCRIBED AS 2018 GMC SIERRA 1500, VIN: 1VWAS7A36FC017020
    AND THAT CERTAIN LOAN MORE SPECIFICALLY IDENTIFIED AS LOAN
                        NUMBER *******3321

       NOW COMES CARMAX BUSINESS SERVICES, LLC, A SUBSIDIARY OF

CARMAX AUTO FINANCE, INC., by and through its attorney Brock and Scott, PLLC,

pursuant to Bankruptcy Rule 9010 and makes its appearance as a creditor in this cause and,

pursuant to Bankruptcy Rule 2002, requests that it be noticed on all pleadings, documents and

hearings; that it receive copies of all documents; and be added to the matrix to be served at the

addresses below:

Brock and Scott, PLLC
Attorneys at Law
3825 Forrestgate Dr.
Winston-Salem, NC 27103
FloridaBKLegal@brockandscott.com

CARMAX BUSINESS SERVICES, LLC, A SUBSIDIARY OF CARMAX AUTO FINANCE,
INC.
225 Chastain Meadows Court
Kennesaw, Georgia 30144

       Please take notice that the undersigned hereby appears as counsel for CARMAX

BUSINESS SERVICES, LLC, A SUBSIDIARY OF CARMAX AUTO FINANCE, INC.

                                                                             24-F01287 BKRAF01


             *CID1192704*
BarNumber:91430
                                                             *DID200399*
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pursuant to Bankruptcy Rule 9010(b). The undersigned’s filing of this notice is limited to the instant

case noted above and should not be construed as unlimited representation of the Creditor with

respect to any and all matters, proceedings, or actions that may be taken in the instant case or any

associated case or proceeding involving the above-named Creditor.


                                               RESPECTFULLY SUBMITTED,



                                               /s/
                                               Teresa M. Hair, FL Bar No. 44079
                                               Patrick Hruby, FL Bar No. 0088657
                                               Neisi I. Garcia Ramirez, FL Bar No. 91430
                                               Dennis J. LeVine, FL Bar No. 375993
                                               Jay Jones, FL Bar No. 90736
                                               Attorney for Creditor
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                                               3825 Forrestgate Drive
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BarNumber:91430
